Pettway v. Equifax Information Services, LLC, Not Reported in F.Supp.2d (2010)




                2010 WL 653708
  Only the Westlaw citation is currently available.             I. Procedural background
                                                              On October 22, 2008, Pettway filed her complaint against
This decision was reviewed by West editorial
                                                              Equifax, TransUnion LLC. (TransUnion), Experian,
       staff and not assigned editorial
                                                              DirecManagment, Inc., (Direct) and Central Credit
               enhancements.
                                                              Solutions, LLC. (Central) (doc. 1).2 She amended the
             United States District Court,                    complaint on October 23, 2008 (doc. 4). Pettway brings her
                   S.D. Alabama,                              complaint pursuant to the Fair Credit Reporting Act
                 Southern Division.                           (FCRA),     15 U.S.C. § 1681, et seq.

          Paula PETTWAY, Plaintiff,                           Pettway alleges that she is a consumer3 as defined by the
                     v.                                       Act. Pettway alleges that in July 2008 she advised Experian
 EQUIFAX INFORMATION SERVICES, LLC, et al,                    and Equifax of inaccurate reporting of several collection
                 Defendants.                                  accounts which were either not her accounts or had been
                                                              paid. Pettway alleges that Experian and Equifax failed to
           Civil Action No. 08–0618–KD–M.                     conduct a proper investigation and remove the accounts or
                             |                                correct the report to show that the accounts had been paid
                      Feb. 17, 2010.                          which resulted in these inaccuracies continuing to appear
                                                              on her report. Pettway alleges that she was denied credit in
                                                              September 2008 because of these inaccuracies.
Attorneys and Law Firms

Paula Pettway, Mobile, AL, pro se.                            In Count Two of the amended complaint, Pettway alleges
                                                              that Experian and Equifax failed to comply with            15
Kirkland E. Reid, Nicole Marie Perry, Jones Walker LLP,       U.S.C. § 1681 e(b), 1681 i(a) and 1681 i(a)(5).
Mobile, AL, Stephanie Cope, King & Spalding LLP,              Specifically, Pettway alleges that Experian and Equifax
Atlanta, GA, Leilus Jackson Young, Jr., Ferguson Frost &      failed to put into place procedures to properly reinvestigate
Dodson, LLP, Birmingham, AL, for Defendants.                  consumer complaints of inaccuracies, negligently or
                                                              willfully failed to properly consider and give due weight to
                                                              the information she submitted with her complaint and
                                                              request for reinvestigation, and willfully or negligently
                                                              refused to properly reinvestigate her credit report after her
                                                              request.


                         ORDER
                                                                II. Factual background4
KRISTI K. DuBOSE, District Judge.                             Pettway is a consumer who incurred certain medical debts
                                                              in 2006 and 2007 to two medical service providers:
*1 This action is before the Court on the motions for         Emergency Medicine Associates of Mobile, P.C.
summary judgment filed by defendant Equifax Information       (Emergency) and Seton Medical Management (Seton).
Services, LLC (Equifax) and Experian Information
Solutions, Inc. (Experian), plaintiff Paula Pettway’s
(Pettway) response, the defendants’ replies, and supporting
evidence (docs.74, 75, 89–92, 96, 99, 101).1 Upon
consideration, and for the reasons set forth herein,
Experian’s motion for summary judgment is GRANTED             The Central collection account
and Equifax’s motion for summary judgment is                  In January 2008, the Emergency account was placed for
GRANTED.                                                      collection with Central (doc. 90, p. 3, 90–2). Pettway paid
                                                              Emergency with a check payable to “Emergency Med.
                                                              Assoc.” in the amount of $192.00, dated February 1, 2008,

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the back of which shows a deposit stamp of “02/12/2008”
(doc. 96, Exhibit 3). Pettway stated at deposition that she
had paid the debt direct to Emergency and not to Central
(doc. 101, p. 15, depo pages 56–57).

On or about March 4, 2008, Pettway received a letter from      Pettway contacts Experian and Equifax
Central regarding collection of the debt due to Emergency      Pettway wrote Experian and Equifax on July 24, 2008,
in the amount of $220.79 (doc. 96, Exhibit 3). The letter      sending identical letters, as follows:
instructed Pettway that the debt was due and that the letter
was an attempt to collect the debt. On or about March 2008,      I am writing regarding the collections accounts on my
Central began to report the Emergency collection account         credit report. They are in error and I am requesting an
to Equifax and Experian as a collection account with a           investigation.
balance due (doc. 75, p. 40; 90–2).
                                                                 I received a call from both collection agencies. I told
                                                                 them that I thought they had made a mistake, and that
                                                                 the accounts were not mine. I have been receiving an
                                                                 influx of collection letters in the mail for a Paula A.
                                                                 Pettway. So, I assumed this was also for the same Paula
The Direct account                                               A. Pettway, that I had been receiving her mail.
*2 In January 2008, the Seton account was placed for
collection with Direct (doc. 90, p. 4, 90–3). On or about        I decided to pay the bill because it was a small amount
January 29, 2008, Pettway received a letter from Direct          until I could find out for certain if it was or was not mine.
regarding collection of a debt due to Seton in the amount        Their letters said I had 30 days to respond. I paid the bills
of $111.95 (doc. 96, Exhibit 3). The letter instructed           within the next 2 days.
Pettway that the debt had been placed for collection,
                                                                 I can provide the cancel (sic ) checks, if necessary.
advised her of the Federal law, and explained that Pettway
“should make all payments and inquiries directly to this       (doc. 96, Exhibit 1). Pettway also contacted Experian by
office.” (Id ).                                                phone on or around July 28, 2008 and identified Central
                                                               and Direct as the collections accounts referenced in her
Pettway paid Seton with a check payable to “Seton Medical      letter (doc. 75, p. 8, Affidavit of Kimberly Hughes,
Management” in the amount of $105.00, dated February 1,        Consumer Affairs Special Services Consultant).
2003,5 the back of which shows a deposit stamp of
“02/13/2008” (doc. 96, Exhibit 3). On or about July 2008,
Direct began to report the Seton collection account to
Equifax with a balance due (doc. 90–3).

                                                               Experian responds
                                                               Experian’s credit file on Pettway contained only the
                                                               Central collection account. Experian investigated by
                                                               sending an Automated Consumer Dispute Verification
Report from Credit Technologies, Inc.                          (ACDV) form to Central, the source of the account
In June 2008, a consumer report from Credit Technologies,      information, and then on or about July 29, 2008, sent
Inc., was provided to First Choice Funding–Mobile d/b/a        Pettway an “Investigation Results” statement (Id.). The
Norstar, for the applicant Pettway. Four accounts are listed   statement explained that “[w]e completed investigating the
under the section titled “Collection Accounts”. The report     items you disputed with the sources of the information and
indicates that four accounts were reported with Equifax:       here are the results: ... Central Credit Solutio[n] ...
Central, Direct, Cap One, and CitiFinancial and that three     Updated.” (doc. 75, p. 44). “Updated” is defined as “A
accounts were reported with Experian: Central, Cap One,        change was made to this item; review this report to view
and CitiFinancial. The report also shows the Cap One           the change. If ownership of the item was disputed, then it
account as “settled” and “settlement accepted on this          was verified as belonging to you.” (Id.). The statement
account” with a date of last activity of September 2002 and    explained the dispute verification process, and explained
the CitiFinancial account as “settled”, “settlement accepted   that “[t]his summary shows the revision(s) made to your
on this account”, and “charged off account” with a date of     credit file as a result of the verification we recently
last activity of June 2003. Global Tel Con was not on the      completed”. If you still question an item, then you may
report (doc. 96. p. 26–32).                                    want to contact the source of the information” (Id.) The
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statement also provided Pettway with contact information
for Central (Id.)

*3 The Experian statement also indicated that Central
opened the collection account in January 2008, reported it      Denial of Credit
since March 2008, and that the last report was July 2008.       In the complaint, Pettway alleges that she was denied credit
(doc. 96, Exhibit 2, doc. 75, p. 45). The statement             in September 2008 because of these items on her consumer
confirmed that this was a collection account, the original      credit report. In response to Interrogatory No. 6, Pettway
creditor was Emergency, the original debt was $192.00, the      answers by listing approximately 22 entities which have
recent balance was $220.00, the “Account information            denied her credit since 2004, some after the date of her
[was] disputed by consumer”, and that “[t]his item was          amended complaint. She lists a denial by Whitney Bank on
verified and updated on Jul[y]08” (doc. 96, Exhibit 2).         September 19, 2008 (doc. 96, p. 37).

Experian updated the collection account but did not delete
it because the account was verified by Central as belonging
to Pettway and unpaid (doc. 75, p. 38, Exhibit G, account
verification form). John Holloway, CEO of Central, gave a
                                                                   III. Standard of Review
declaration wherein he states that he verified the account to
                                                                Summary judgment should be granted only if “there is no
Experian as belonging to Pettway and not paid to Central
                                                                genuine issue as to any material fact and [ ] the movant is
as of July 30, 2008 (doc. 75, p. 39–40, Exhibit H).
                                                                entitled to judgment as a matter of law.” Fed.R.Civ.P.
                                                                56(c).9 The party seeking summary judgment bears “the
                                                                initial burden to show the district court, by reference to
                                                                materials on file, that there are no genuine issues of
                                                                material fact that should be decided at trial.”      Clark v.
Equifax responds                                                Coats & Clark, Inc., 929 F.2d 604, 608 (11th Cir.1991).
In response to Pettway’s letter, Equifax provided a credit      The party seeking summary judgment always bears the
report dated July 31, 2008, and wrote Pettway as follows:       “initial responsibility of informing the district court of the
                                                                basis for its motion, and identifying those portions of ‘the
                                                                pleadings, depositions, answers to interrogatories, and
                                                                admissions on file, together with the affidavits, if any,’
             We have reviewed your concerns                     which it believes demonstrate the absence of a genuine
             and our conclusions are: Please be
             specific with your concerns by                     issue of material fact.” Id. (quoting      Celotex Corp. v.
             listing the account names, numbers,                Catrett, 477 U.S. 317, 323, 106 S.Ct. 2548, 91 L.Ed.2d 265
             and the nature of the dispute.                     (1986)). If the nonmoving party fails to make “a sufficient
                                                                showing on an essential element of her case with respect to
                                                                which she has the burden of proof,” the moving party is
                                                                entitled to summary judgment.          Celotex, 477 U.S. at
(doc. 96, Exhibit 2). Pettway did not provide Equifax with      323. “In reviewing whether the nonmoving party has met
the information requested. Equifax took no further action.      its burden, the court must stop short of weighing the
                                                                evidence and making credibility determinations of the truth
Equifax’s July 31, 2008 credit report showed only Central       of the matter. Instead, the evidence of the non-movant is to
and Direct as collection accounts among the approximate         be believed, and all justifiable inferences are to be drawn
fifteen entities reporting (doc. 96, Exhibit 2, p. 1). The      in his favor.” Tipton v. Bergrohr GMBH–Siegen, 965 F.2d
report indicates that Central was assigned to collect the       994, 998–999 (11th Cir .1992), cert. den., 507 U.S. 911,
debt due Emergency in January 2008, that the debt was           113 S.Ct. 1259, 122 L.Ed.2d 657 (1993) (internal citations
reported as unpaid as of July 2008, that the balance due was    and quotations omitted). The mere existence of any factual
$220.00, that the initial amount due was $192.00, and that      dispute will not automatically necessitate denial of a
Pettway disputed this account information. The report also      motion for summary judgment; rather, only factual
indicates that Direct was assigned to collect the debt due      disputes that are material preclude entry of summary
Seton in January 2008, that the debt was reported as unpaid
as of July 2008, that the balance due was $111.00, that the     judgment.      Lofton v. Sec’y of the Dep’t of Children &
initial amount due was $105.00, but without notation of         Family Serv., 358 F.3d 804, 809 (11th Cir.2004), cert. den.,
dispute.                                                        534 U.S. 1081 (2005).


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                                                                    15. Plaintiff, in July 2008 advised Equifax, Trans Union,
                                                                    and Experian, the “Credit Reporting Defendants,” of the
                                                                    inaccurate reporting of several collection accounts.
  IV. Analysis                                                      16. She informed them that these accounts were not hers
                                                                    and/or had been paid off and were not owed and she
                                                                    requested reinvestigation and correction of the same.
Claims relating to the CitiFinancial, Cap One, and                  18. The Credit Reporting Defendants received notice
Global Tel Con accounts                                             from the Plaintiff of the fact that she was disputing their
*4 In her response, Pettway raises factual allegations              reporting of the accounts at issue herein.
regarding inaccurate reporting and failing to reinvestigate
disputes involving Equifax and Experian’s reporting of her          19. On information and belief, Credit Reporting
CitiFinancial account which arose during 2004 and 2005.             Defendants contacted the various furnishers of the
She also mentions that she discussed the Cap One account            disputed information.
with the Magistrate Judge and that she tried to bring out her
claims regarding this account during her depositions. She           20. One collection account was being reported by
also states that she can prove that the Global Tel Con              defendant, DirecManagement, Inc.
account is not hers (doc. 96, p. 3–4).
                                                                    21. Plaintiff received the reinvestigation results from the
In the reply, Equifax argues that these are new allegations         Credit Reporting Defendants and the collection accounts
regarding the CitiFinancial and Global Tel Con accounts             remained on her credit report.
which are raised for the first time in the response. Equifax
argues that Pettway cannot amend her complaint by raising           *5 22. The defendants did not perform a proper
new claims about different accounts in her response to the          investigation as the accounts were not deleted and not
motion for summary judgment. Equifax also states that               updated or corrected.
even if Pettway’s claims were allowed, the claims are time
barred because greater than two years have passed between           23. The continued reporting by the defendants occurred
Pettway’s discovery of any derogatory reporting of the              after the plaintiff’s notifications to the defendants that
CitiFinancial and Global Tel Con accounts and filing her            the accounts were not being reported correctly.
lawsuit.
                                                                  (Doc. 4, p. 4–5).
In the reply, Experian argues that the Global Tel Con
                                                                  Pettway specifically alleges that collection accounts were
account has never appeared on Pettway’s Experian credit
                                                                  improperly reported in 2008 and that after her request for
file and that any claim regarding the Capital One account
                                                                  reinvestigation, Experian and Equifax failed to properly
is barred by the statute of limitations. Experian also relies
                                                                  reinvestigate these collection accounts. She also alleges
upon Pettway’s response wherein she states that “Experian
                                                                  that she was denied credit in September 2008. Moreover,
only report the [Central] Credit Solution account in error”
                                                                  in her response, Pettway states as follows:
(doc. 96, p. 1). Experian reiterated that it never reported the
Direct collection account and makes no argument
regarding the CitiFinancial account. Experian relies upon
Pettway’s deposition testimony that the Direct, Central,                       I would like to point out that,
Global E Teleco and Capital One accounts are the relevant                      Central Credit Solutions and
accounts (doc. 101, p. 2–3), and addresses those claims.                       DirecManagement were the only
                                                                               two collection accounts in my
Pettway did not amend her complaint to include any claim                       Equifax credit file. Please note that
based on any alleged inaccurate reporting or failure to                        DirecManagement was never listed
conduct a reasonable investigation of the disputed accounts                    on credit file from Experian.
of CitiFinancial, Global Tel Con, or Capital One. In her                       Experian only report the Credit
complaint, Pettway alleges as follows:                                         Solution account in error.

  14. In 2008, adverse information contained in the
  plaintiff’s consumer credit report by Equifax, Trans
  Union and Experian stated and implied that numerous             (doc. 96, p. 1)
  accounts of hers were past due and in collection.

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Thus, there is no allegation or factual basis for a claim that    that they complained about for me because there were other
Cap One or Capital One, CitiFinancial, or Global Tel Con,         things” (doc. 101, p. 21). She also testified that when the
were reported by Experian or Equifax as collection                Magistrate Judge asked if there were other items, she
accounts in June 2008. Pettway provided a copy of the             “thought that those things could be included because there
credit report from Credit Technologies, Inc. (doc. 96,            were other things.” (Id.)
Exhibit 4). Under the section captioned “Collection
Accounts”, the report could be interpreted to indicate that       Pro se plaintiffs are entitled to a liberal construction of
CitiFinancial and Cap One were reported by Experian and           their pleadings.     Dinardo v. Palm Beach County Circuit
Equifax as collection accounts (doc. 96, Exhibit 4).              Court Judge, 199 Fed. Appx. 731, 734–735 (11th
However, the Credit Technologies’ consumer report also            Cir.2006); Tannenbaum v. United States, 148 F.3d 1262,
shows both accounts reporting as “settlement accepted on          1263 (11th Cir.1998) (explaining that “[p]ro se pleadings
this account” and “settled”. Global Tel Con was not on the        are held to a less stringent standard than pleadings drafted
report (doc. 96. p. 26–32). Thus, in 2008, these accounts         by attorneys and will, therefore, be liberally construed”);
were not reported as past due or in collection.
                                                                      Haines v. Kerner, 404 U.S. 519, 520, 92 S.Ct. 594, 30
In July 2008, Equifax provided Pettway with a copy of its         (1972) (A pro se complaint is held to “less stringent
credit file and the only collection accounts showing were         standards than formal pleadings drafted by lawyers.”).
those of Central and Direct.6 Neither Experian nor Pettway        However, despite this leeway, Pettway may not amend her
has provided the Court with a copy of an Experian credit          complaint by way of an argument or claim raised for the
file of June 2008 to show whether CitiFinancial, Cap One,         first time in response to the motion for summary judgment.
or Global Tel Con appeared as a collection accounts.                  Gilmour v. Gates, McDonald and Co., 382 F.3d 1312,
However, when Experian responded to Pettway’s                     1315 (11th Cir.2004) (“A plaintiff may not amend her
investigation request, it responded only as to the Central        complaint through argument in a brief opposing summary
collection account and Pettway admits that Central was the        judgment.”). Importantly, the docket indicates that the
only collection account reported in error by Experian (doc.       deadline for amendment of pleadings was April 30, 20097
96, p. 1).                                                        and that her counsel did not file the motion to withdraw
                                                                  until July 1, 2009. Thus, she was represented by counsel
Additionally, Pettway’s claims are also based on a failure        during the time period for amendment. Because there is no
to conduct a reasonable investigation of the disputed             evidence that Experian and Equifax issued a consumer
collection accounts. In that regard, Pettway provided the         report showing CitiFinancial, Cap One, or Global Tel Con,
Court with copies of two duplicate letters wherein she            as collection accounts in June of 2008, or that Pettway
requests investigation. In the letters, Pettway states that she   requested a reinvestigation of these accounts as they
“received a call from both collection agencies”, “decided         appeared on her consumer report, any claim based thereon
to pay the bill because it was a small amount until [she]         will not be considered as it is not a claim in the complaint.
could find out for certain if it was or was not [hers]” and
that she “paid the bills within the next 2 days.” She then
wrote that she could provide the cancelled checks if
necessary.

Now, with her response, Pettway has provided the Court            Claim raised pursuant to      15 U.S.C. § 1681i(5)B(i) and
with copies of the two cancelled checks, neither of which         (ii)
were payment to Cap One, CitiFinancial, or Global Tel             Also in the response, Pettway raises for the first time a
Con. Thus, nothing in these letters requesting                    claim that she has proof that information was deleted from
reinvestigation or the cancelled checks, indicates that she       her account and then replaced by Equifax in violation of
paid or requested a reinvestigation of the Cap One,                    15 U.S.C. § 1681i(5)B(i) and (ii). She raises this claim
CitiFinancial, or Global Tel Con accounts or that these           without alleging the identity of the accounts deleted and
accounts were collection accounts in June 2008 or at the          replaced, which credit reporting agency may have done so,
time Pettway filed her amended complaint in October               or when this may have occurred. Again, Pettway may not
2008.                                                             amend her complaint by way of an argument raised in
                                                                  response to the motion for summary judgment.
*6 At her deposition, Pettway testified that it was her
                                                                  Gilmour, 382 F.3d at 1315. Therefore, any claim based on
understanding that “the other issues that I had raised with
                                                                  this section of the FCRA will not be considered.
my attorney were a part of the complaint ... I was not
knowledgeable of the fact that those were the only things

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                                                                   causal factor in the denial of credit to Pettway. However,
                                                                   the only “consumer credit report” which Pettway has
Claims pursuant to     15 U.S.C. § 1681e(b)                        provided to the Court is that of Credit Technologies, Inc.8
                                                                   which was issued in June 2008. According to Pettway,
Pettway brings her claims pursuant to       15 U.S.C. §
                                                                   Credit Technologies reported Pettway’s consumer credit
1681e(b) which states as follows:
                                                                   information to First Choice Funding–Mobile d/b/a Norstar
                                                                   and First Choice denied her credit in June 2008. However,
                                                                   this is not the basis for the claim in this case.
             Accuracy of report. Whenever a
             consumer reporting agency prepares                    As explained, reports prepared only for Pettway, such as
             a consumer report it shall follow                     those prepared by Experian or Equifax in response to her
             reasonable procedures to assure                       credit disputes, are not “consumer reports” under the
             maximum possible accuracy of the                      FCRA. Pettway did not provide the Court with a copy of a
             information     concerning     the                    consumer report provided by Experian or Equifax from
             individual about whom the report                      which the trier of fact could find or infer that inaccurate
             relates.                                              information was published therein or that the consumer
                                                                   report was a causal factor in the denial of credit in
                                                                   September 2008. Pettway also did not provide any
                                                                   evidence that the Credit Technologies consumer report
*7     15 U.S.C. § 1681e(b).                                       issued in June 2008, was a causal factor in the denial of
                                                                   credit in September 2008.
“To establish a prima facie violation of      § 1681e(b), a
consumer must present evidence that (1) a credit reporting         Therefore, the Court is without any evidence that a
agency’s report was inaccurate and (2) that the inaccurate         consumer report prepared by Experian or Equifax was a
report was a causal factor in the denial of his credit             causal factor in the denial of credit in September 2008 as
application.... The ‘failure to produce evidence of damage         plead in the amended complaint. “A consumer asserting
resulting from a FCRA violation mandates summary                   claims under ...     § 1681e(b) against a credit reporting
judgment.’ “      Ray v. Equifax Information Services, Inc.,       agency bears the burden of proving that the agency’s credit
327 Fed. Appx. 819, 826 (11th Cir.2009) (citations                 report was a causal factor in the denial of his credit
omitted).                                                          application.”     Jackson v. Equifax Information Services,
                                                                   LLC., 167 Fed.Appx. 144, 146 (11th Cir.2006) (citation
The parties do not dispute that Experian or Equifax are            omitted).
credit reporting agencies. However, a “consumer report” or
“consumer credit report” is different from a credit file,
credit report, or credit disclosure. A “consumer report” is a
report generated by a credit reporting agency and delivered
to a third party such as an employer, insurer, or lender, for      Claims pursuant to     15 U.S.C. § 1681i
use in deciding whether the consumer is eligible for credit
                                                                   *8 Pettway also brings claims pursuant to    15 U.S.C. §
or other purposes.         15 U.S.C. § 1681a(d). A credit          1681i which addresses the procedure when there is a
report, file or disclosure is the credit reporting agency’s file   disputed accuracy. Paragraph (a)(1)(A) explains that
which it provides to the consumer, not third parties, and
contains “information solely as to transactions or
experiences between the consumer and the person making
                                                                               Subject to subsection (f) of this
the report ...”     15 U.S.C. § 1681a(d); § 1681g; see also
                                                                               section, if the completeness or
    15 U.S.C. § 1681a(d)(2)(A)(i) (“report containing                          accuracy of any item of information
information solely as to transactions or experiences                           contained in a consumer’s file at a
between the consumer and the person making the report”).                       consumer reporting agency is
                                                                               disputed by the consumer and the
Thus to establish her prima facie case, Pettway must                           consumer notifies the agency
provide sufficient evidence to show that Equifax or                            directly, or indirectly through a
Experian, the defendant credit reporting agencies,                             reseller, of such dispute, the agency
delivered or provided an inaccurate consumer credit report                     shall, free of charge, conduct a
to a third party, and that the inaccurate report was the                       reasonable      reinvestigation    to
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           determine whether the disputed                                   report—it is not strictly liable
           information is inaccurate and record                             simply because a credit report is
           the current status of the disputed                               inaccurate.
           information, or delete the item from
           the file in accordance with
           paragraph (5), before the end of the
           30–day period beginning on the date                 Peart v. Shippie, ––– Fed Appx. –––– (11th Cir. August 11,
           on which the agency receives the                    2009) (quoting      Cahlin v. General Motors Acceptance
           notice of the dispute from the                      Corp., 936 F.2d 1151, 1156 (11th Cir.1991) (internal
           consumer or reseller.                               quotations omitted).

                                                               To establish a claim for failure to reinvestigate under
  15 U.S.C. § 1681i(a)(1)(A).                                  section 1681      i(a), Pettway must make a prima facie
                                                               showing that:
Subparagraph (a)(5) addresses the “[t]reatment of
                                                                 (1) The plaintiff’s credit file contains inaccurate or
inaccurate or unverifiable information” and states that
                                                                 incomplete information.        15 U.S.C. § 1681
  (A) In general.—If, after any reinvestigation under            i(a)(1).
  paragraph (1) of any information disputed by a
  consumer, an item of the information is found to be            (2) The plaintiff notified the credit reporting agency
  inaccurate or incomplete or cannot be verified, the            directly of the inaccurate or incomplete information.
  consumer reporting agency shall—
                                                                 (3) The plaintiff’s dispute is not frivolous or irrelevant.
    (i) promptly delete that item of information from the           15 U.S.C. § 1681i(a)(3).
    file of the consumer, or modify that item of
    information, as appropriate, based on the results of the     (4) The credit reporting agency failed to respond to the
    reinvestigation; and                                         plaintiff’s dispute.   15 U.S.C. § 1681i(a)(1), (2), and
                                                                 (6).
    (ii) promptly notify the furnisher of that information
    that the information has been modified or deleted            *9 (5) The failure to reinvestigate caused the consumer
    from the file of the consumer.
                                                                 to suffer damages.     Cousin v. Trans Union Corp., 246
                                                                 F.3d 359, 368–69 (5th Cir.), cert. denied, 534 U.S. 951,
  15 U.S.C. § 1681i(a)(5)(A).                                    122 S.Ct. 346, 151 L.Ed.2d 261 (2001) (reversing jury
                                                                 award as a matter of law because plaintiff did not show
                                                                 sufficient evidence of actual damages).
           With regard to consumer reporting
           agencies, the FCRA requires these                   As previously stated, a “consumer asserting claims under
           agencies to follow reasonable                          §§ 1681i(a) ... against a credit reporting agency bears
           procedures to assure the maximum                    the burden of proving that the agency’s credit report was a
           accuracy of each credit report. In                  causal factor in the denial of his credit application.”
           addition, if a consumer brings a                    Jackson, 167 Fed.Appx. at 146.
           dispute to the agency as to the
           completeness or accuracy of a credit
           report, the agency is required by [the
           FCRA] ... to reinvestigate and
           record the current status of that
           information unless it has reasonable                Response to Pettway by Experian and Equifax
           grounds to believe that the dispute                 As pointed out by Experian, the FCRA is not a strict
           by the consumer is frivolous or                     liability statute and a credit reporting agency can be liable
           irrelevant. The agency is only liable               only for failing to follow reasonable procedures to ensure
           under this provision if it fails to                 maximum possible accuracy of the reported information.
           follow reasonable procedures to                     In that regard, Experian points out that in response to
           ensure the accuracy of a credit                     Pettway’s complaint, Experian contacted Central who

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verified the information in Experian’s report. Experian                 However, in response to the motion for summary
then related this information to Pettway and provided her               judgment, Pettway has failed to present any evidence to
with contact information for Central. In response to                    support this claim. Specifically, she has not provided a
Pettway’s complaint to Equifax, it requested more                       consumer credit report from either Experian or Equifax
information from Pettway. Pettway failed to provide any                 issued at the request of a creditor or lender at or near
additional information. Both Experian and Equifax point                 September 2008. Also, in her response, Pettway did not
out that Pettway admitted that the two collection accounts              identify the creditor by whom she was denied credit at or
were hers and admitted that she paid the underlying                     near September 2008,9 and she has not provided a denial
creditors and not the collection agencies.                              letter from any creditor or lender written at or near
                                                                        September 2008.
In her response, Pettway points to her letter to Experian and
argues that Experian reported the Central account in error.             The Eleventh Circuit has held that the “failure to produce
Pettway also argues that Equifax should have been able to               evidence of damage resulting from a FCRA violation
discern from Pettway’s letter all the information necessary             mandates summary judgment.”          Ray, 327 Fed. Appx. at
to conduct an investigation.
                                                                        826 (citing     Nagle v. Experian Info. Solutions, Inc., 297
Pettway offers no argument or evidence that after Experian              F.3d 1305, 1307 (11th Cir.2002)) (“because Ray failed to
reinvestigated the dispute with Central, Experian had any               produce the credit report from 2004 which CitiBank would
reason to question Central’s credibility, accuracy, or                  have relied on, he cannot show that it was inaccurate ...”).
reputation such that its investigation was not reasonable.              Also, a “consumer asserting claims under        §§ 1681i(a)
16 C.F.R. Part 600 App. (2000) (“The [FCRA] does not                    or     1681e(b) against a credit reporting agency bears the
require error free consumer reports. If a consumer                      burden of proving that the agency’s credit report was a
reporting agency accurately ... communicates consumer
                                                                        causal factor in the denial of his credit application.”
information received from a source ... reasonably believe
                                                                        Jackson, 167 Fed. Appx. at 146 (citation omitted). Since
[d] to be reputable, and ... credible on its face, the agency
                                                                        Pettway did not produce any evidence to support this
does not violate this section simply by reporting an item of
                                                                        allegation, she has failed to “create a genuine issue of
information that turns out to be inaccurate.”). Nor is there
                                                                        material fact that the inaccurate information was reported
any other evidence from which a reasonable jury could not
                                                                        by” Equifax or Experian, “or that it caused [her] harm”.
find that Experian did not reasonably respond to Pettway’s
                                                                        Ray at 826; id. Therefore, Pettway has also failed to make
complaint. As to Equifax, it reasonably requested
                                                                        a sufficient showing on this element of her prima facie case
additional account information from Pettway as Pettway’s
                                                                        and defendants are entitled to summary judgment.
complaint was vague. Pettway did not respond. A
reasonably jury could not find that Equifax thereafter acted
unreasonably by failing to investigate Pettway’s complaint.

Since there is no genuine dispute of material fact as to
whether Experian or Equifax acted reasonably in response                  V. Conclusion
to Pettway’s complaint, Experian and Equifax are entitled               For the reasons set forth herein, summary judgment is
to judgment as a matter of law in their favor.                          granted in favor of defendants Experian and Equifax.
                                                                        Accordingly, Pettway’s claims are dismissed with
                                                                        prejudice.

                                                                        DONE and ORDERED.
Damages
*10 In the amended complaint, Pettway alleges that she                  All Citations
was damaged because she was “denied credit in September
2008 based on her credit reports after the defendants were              Not Reported in F.Supp.2d, 2010 WL 653708
placed on notice of the disputed accounts and failed to                  
remove or correct the disputed accounts.” (doc. 4).

Footnotes 
 
1       Defendants filed a motion to strike Pettway’s exhibits number 6 through 12 because they were not produced during discovery and 
     
        Pettway should not now be permitted to rely upon these exhibit (doc. 100). These exhibits, dating from 2004 through 2005, appear

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           relevant only to Pettway’s argument, raised for the first time in response to the motions for summary judgment, that Experian and 
           Equifax inaccurately reported the CitiFinancial account and inaccurately included possibly four other CitiFinancial accounts on her
           credit reports which were not hers. However, because the Court has not relied upon these exhibits to reach its decision regarding 
           the claims raised in Pettway’s amended complaint, the motion to strike is MOOT. 
              Defendants also filed a motion to strike Pettway’s addendum to her response (doc. 102) wherein she states that she would like
              to continue with her exhibits. The addendum is a narrative statement of her contacts with Equifax and Experian regarding the 
              alleged erroneous and derogatory reporting of her CitiFinancial and McRae’s accounts, copies of letters, denials of credit, and 
              credit reports from 2005 through 2006. As will be discussed infra, Pettway cannot amend her complaint by way of her response 
              to the motion for summary judgment to add new claims involving different credit accounts which were not collection accounts
              at the time she filed her amended complaint. Therefore, the motion to strike is GRANTED. 
               
2          Defendants TransUnion, Direct, and Central were dismissed from the case (docs.50, 53, 105). 
     
            
 
3          In their motions for summary judgment, defendants address several accounts wherein Pettway applied for a business credit card
     
           but was denied credit. Since the FCRA protects only consumers and this action was brought pursuant to that Act, the Court need 
           not  address  any  claim  or  argument  based  on  any  alleged  denial  of  credit  for  Pettway’s  business.  Thompson  v.  Equifax  Credit 
           Information Services, Inc., 2002 WL 34367325 (finding that “credit reports issued for business purposes are not covered by the
           [FCRA] and, thus, evidence relating thereto is irrelevant to damages claimed by Plaintiff pursuant to the FCRA.”) 
            
4          When ruling on a motion for summary judgment, the court views “the evidence and all reasonable inferences in the light most
     
           favorable to the non‐moving party.”         Battle v. Board of Regents for Ga., 468 F.3d 755, 759 (11th Cir.2006). However, the facts 
           established for purpose of summary judgment may not be the actual facts established at trial. See       Swint v. City of Wadley, 51 
           F.3d 988, 992 (11th Cir.1995). 
            
5          The date appears to be a mistake. The check is in numerical sequence with the check to Emergency Medicine Associates and the 
     
           back shows a deposit date of February 13, 2008. 
            
6          The accounts appeared on the July 2008 Equifax report as part of Pettway’s credit history but not as a collection account. 
     
            
 
7          After counsel was allowed to withdraw, an amended Rule 16(b) Scheduling Order was entered on September 22, 2009. In that
     
           order, the Court stated that “Any motion for leave to amend the pleadings or to join other parties has been filed.” (doc. 78, p. 2). 
            
8          Credit Technologies produced what has been described as a “merge credit report” (doc. 74, p. 17). Presumably, Credit Technologies 
     
           is  a  “reseller”,  defined  in  the  FCRA  as  a  consumer  reporting  agency  that  “assembles  and  merges  information  contained  in  the
           database of another consumer reporting agency or multiple consumer reporting agencies concerning any consumer for purposes
           of furnishing such information to any third party, to the extent of such activities; ....“  15 U.S.C. § 1681a(u). 
            
9          The Court found that in the response to Interrogatory No. 6, Pettway states that she was denied credit approximately 22 times
     
           since 2004, some after the date of her amended complaint. She does list a denial by Whitney Bank on September 19, 2008 (doc.
           96, p. 37). 
            



 
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